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@lfice of the Attorney General L

Washington, B.C. 20530 aT! rw
aonne 23, 2011, sh

MEMORANDUM FOR THOMAS R. KANE
ACTING DIRECTOR
FEDERAL BUREAU OF PRISONS

  

Origination of Special Administrative Measures (SAM)
Pursuant to 28 C.F.R. § 501.2 for Federal Bureau of Prisons
Inmate Harold James Nicholson ‘

\ On March 3, 1997, Harold James Nicholson pleaded guilty in the Eastern District of :
Virginia to conspiracy to commit espionage, in violation of 18 U.S.C. §§ 794(a) and (c). As part |
of his guilty plea, Nicholson admitted that between June 1994 and November 16, 1996, he :
provided the Russian Federation with documents and other information relating to the national
defense of the United States, with the intent and reason to believe that the same would be used to
the injury of the United States and to the advantage of the Russian Federation. This unauthorized
disclosure of classified information resulted in damage to national security operations.

Nicholson was sentenced to 23 years and seven months in prison, and until recently had been.
serving his sentence at the Federal Correctional Institute (FCI Sheridan) in Sheridan, Oregon.

_ As part of his plea agreement in 1997, Nicholson acknowledged his continuing
obligations with respect to secrecy associated with his employment with the Central Intelligence
Agency (CIA) and agreed to have “no contact with any foreien government or agents thereof,
and ... not seek or accept, personally or through another person of entity, any benefit from such
government,” including through any member of his family. He also acknowledged that the
government reserved its right to impose SAM as a condition of his imprisonment. To date,
Nicholson has not been subject to SAM. — 2 ot

As detailed in the attached request from CES/NSD and the accompanying letter and
certification from the Director of the CLA, the FBI’s investigation revealed that during the course
of his incarceration, Nicholson used his youngest son, Nathaniel Nicholson (Nathan), to continue
to provide information the Russian government in exchange for regular cash payments. Nathan
visited his father regularly, and they also communicated frequently through telephone and written
correspondence, According to the FBI, Nathan met with Russian government representatives —
outside the United States at his father’s direction. These communications between Nicholson
and the Russian government via Nathan took place even as Nicholson’s outgoing calls were

 
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SPECIAL ADMINISTRATIVE MEASURES (SAM) ; Page 2
Pursuant to 28 C.F.R. § 501.2 . :
Inmate - Harold Nicholson

being recorded for CIA review, his outgoing mail was being sent to the CIA for classification
review, and the CIA was approving his visitors ~ procedures that were put in place as part of his
plea agreement.

The FBI's investigation further disclosed that between December 2006 and December
2008, Nathan traveled overseas on multiple occasions to meet with Russian officials, returning
from those meetings with cash that the Russians gave him in amounts under $10,000, so as io
avoid currency reporting requirements. Nicholson was aware of these trips before they occurred,
and he provided direction to his son with respect to his (Nathan’s) interactions with Russian
officials, as well as methods to avoid detection by U.S. law enforcement. He gave Nathan notes
- to smuggle out of the prison and provide to the Russian officials, as well as instructions with
respect to the handling of cash that Nathan received from the Russians. CIA review of the
* Communications between Nicholson and his son reveals numerous coded conversations relating
to Nathan’s travels in connection with this scheme. .

On December 15, 2008, following his return to Oregon from.a trip to Cyprus, the FBI
interviewed Nathan about his overseas travel. During the course of this interview, Nathan
admitted to meeting with Russian officials and to receiving cash from them. In addition, he
stated that he gave the Russians notes that he had smuggled out of the prison for his father.

Nathan also told the FBI that the Russians had asked him to obtain information relating to the
circumstances of Harold Nicholson's 1997 espionage arrest, including details surrounding one of
his father’s work transfers while he was a still CIA officer; the point at which his father first :
suspected that he was under FBI surveillance; Nicholson's cancelled Posting as a CIA officerina .
foreign country; and the identifies of those who had interrogated Nicholson following his arcest
in 1997. According to the CIA, the answers to these questions could, depending on the level of |
detail provided, constitute the unauthorized disclosure of classified information and cause serious

- damage to national security. Both Harold and Nathan Nicholson were indicted in J anuary 2009
on conspiracy and money laundering charges relating to their unreported and illegal agency for
the Russian Federation, .

On August 29, 2009, Nathan Nicholson entered a plea of guilty to two counts of the
indictment: conspiracy to act as an agent of a foreign government without prior notification to the
Attorney General, and conspiracy to commit money laundering. He received a sentence of five
years’ probation as a result of his cooperation and mitigating circumstances, including his
father’s manipulation of him throughout the entire criminal conspiracy.

When confronted with evidence of his son’s illicit activities on his behalf, Nicholson ~
initially refused to cooperate. However, shortly before his trial, on November 8, 2010, Nicholson
entered a guilty plea to two counts of the indictment: conspiracy to act as an agent of a foreign

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SPECIAL ADMINISTRATIVE MEASURES (SAM) Page 3
Pursuant to 28 C.F.R. § 501.2 _
Inmate - Harold Nicholson -

government without prior notification to the Attomey General, and conspiracy to commit mcney
laundering. The court accepted Nicholson’s plea, which incorporated the terms of his earlier
- 1997 plea agreement. On January 18, 2011, the court sentenced him to an eight-year prison
_ Sentence, consecutive to the original 1997 prison sentence, ,

"__As noted above, Nicholson's repeated post-conviction communications with Russian
officials and his manipulation’of his son to engage in the scheme constituted not only new
criminal activity, but also a violation of the terms of his original plea agreement, as well as his
continuing obligations with respect to secrecy associated with his CLA: employment, .
Additionally, the FBI’s investigation disclosed that Nicholson had sought to use other inmat:s to .
deliver messages for him, Moreover, Nicholson continues to demonstrate a complete lack 0: = fence
remorse: at his sentencing, he apologized to the Russian Federation for any embarrassment his paclfs “m4
conviction caused that government, His recalcitrance raises serious national security concerns as  atit of
to any information relevant to his former employment with the CIA that he may still possess and context
which he might seek to share. with the Russian Federation. In light of this, and in connection: ,

“with the attached request for the SAM, the Director of the CIA has certified, pursuant to

28 C.F.R. § 501.2, that the implementation of SAM is reasonably necessary to prevent disclosure
of classified iriformation by Nicholson, and that the disclosure of such information would pcsea
threat to the national security. ~ ‘ an

Based upon information provided to me, including Nicholson’s lengthy ‘service asa
clandestine agent for the Russian Federation, his recent clandestine intelligence activities on
behalf of the Russian government; and his apology at his recent sentencing to that government, I
find that there is a danger that Nicholson will disclose classified information, that the
unauthorized disclosure of such information would pose a threat to the national security of the
United States, and that SAM on Nicholson are reasonably necessary to ent disclosure of such
information, Therefore, I am requesting that you, pursuant to 28 CR § 5012, implement ~~
SAM to restrict Nicholson's acvess to the mail, the media, the telephone, and visitors.
Implementation of the SAM will commence immediately upon notice to the inmate, and the
SAM will be in effect for one year from the date of my approval, subject to my further direction.

 

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1. ~°Gene visions: Sune a3 ao})

a Adherence to Usual United States Marshals Service (USMS), Bureau of
Prisons (BOP), and Detention Facility (DF) Policy Requirements - In addition
to the below-listed SAM, the inmate must comply with all usual USMS, BOP,
and non-BOP DF policies regarding restrictions, activities, privileges,
communications, etc, If there is a conflict between USMS/BOP/DF policies and
the SAM, as set forth herein, where the SAM is more restrictive than usual

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, SPECIAL ADMINISTRATIVE MEASURES (SAM) Page 4
Pursuant to 28 C.F.R. § 501.2 . .
Inmate - Harold Nicholson

USMS/BOP/DF policies, then the SAM shall control, If usual USMS/BOP/LF

policies are more restrictive than the SAM, then USMS/BOP/DF policies shall
control. .

_»b. Interim SAM Modification Authority - During the term of this directive, the
Director, Office of Enforcement Operations (OEO), Criminal Division, may
modify the inmate's SAM as long as any SAM modification authorized by OO:

i. . Does not create a more restrictive SAM;

fi, - Is not in conflict with the request of the Section Chief, Counterespionage
Section, National Security Division (CES/N SD), Federal Bureau of
Investigation (FBI), Central Intelligence Agency (CIA), or
USMS/BOP/DF, or applicable regulations; and

iii. _Is not objected to by the CES/NSD, FBI, CIA, or USMS/BOP/DF.

c.  .Inmate Communications Prohibitions - The inmate is limited, within
'  USMS/BOP/DF's reasonable efforts and existing confinement conditions, from
having contact (including passing or receiving any oral, written or recorded
communications) with any other inmate, visitor, attorney, or anyone else, except
as outlined and allowed by this document, that could reasonably foreseeably result
in the inmate communicating information (sending or receiving) that could
. circumvent the SAM's intent of significantly limiting the inmate's ability to .

communicate (send or receive) classified information.

i. The USMS/BOP/DF may permit the inmate to communicate with other
SAM inmates orally only during certain predesignated times, the place and
duration to be set by the USMS/BOP/DF. The inmate shall not have any
physical contact with other inmates during this predesignated time, ard all
such predesignated sessions will be monitored and/or recorded. Upon
request of the FBI and/or the CIA, a copy of the recordings will be
provided by the USMS/BOP/DF to the FBI and/or the CIA to be analyzed
for indications that the inmates are attempting to pass classified
information.

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SPECIAL ADMINISTRATIVE MEASURES (SAM) Page 5 \
Pursuant to 28 C.F.R. § 5012 . : 4
Inmate - Harold Nicholson .

2. Attorney/Client Provisions:

a. Attorney’ Affirmation of Receipt of the SAM Restrictions Document - The
inmate’s attorney (or counsel) — individually by each if more than one — must sign
an affirmation acknowledging receipt of the SAM restrictions document. By
signing the affirmation, the attomey acknowledges his/her awareness and
understanding of the SAM provisions and his/her agreement to abide by these
provisions, particularly those that relate to contact between the inmate and his
attomney and the attomey’s staff. The signing of the affirmation does not serve as
an endorsement of the SAM or the conditions of confinement, and does not serve
to attest to any of the factors set forth in the conclusions supporting the SAM.
However, in signing the affirmation, the inmate's attorney, and precleared staff,
acknowledge the restriction that they will not forward third-party messages to or
from the inmate.

i. The CES/NSD shall present, or forward, the attorney affirmation of receipt
of the SAM restrictions document to the inmate’s attomey.

ii, After initiation of SAM and prior to the inmate’s attorney being permitted
to have attorney/client privileged contact with the inmate, the inmate's;
attorney shall execute a document affirming receipt of the SAM’
restrictions document and return the original to the CES/NSD.

ili. | The CES/NSD shall maintain the original of the SAM acknowledgment
document and forward a copy of the signed document to OEO in
Washington, D.C. and the USMS/BOP/DE.

b. Attorney/Client Privileged Visits - Attomey/client privileged visits may be
contact or non-contact, at the discretion of the USMS/BOP/DF.

¢, Attorney May Disseminate Inmate Conversations - The inmate's attomey may _
disseminate the contents of the inmate’s communication to third parties for the

. ‘ The term “attorney” refers to the inmate's attorney of record, who has been verified and
documented by the CES/NSD, and who bas received and acknowledged receipt of the SAM
restrictions document.’ As used in this document, “attorney” also refers to more than one attarney
where the inmate is represented by two or more attomeys, and the provisions of this document
shall be fully applicable to each such attomey in his/her individual capacity.

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SPECIAL ADMINISTRATIVE MEASURES (SAM) Page 6°
Pursuant to 28 C.F.R. § 501.2 .
Inmate - Harald Nicholson

Sole purpose of providing necessary legal services related to the inmate’s post-
sentencing proceedings — and not for any other reason — on the understanding that

" any such dissemination shall be made solely by the inmate’s attorney, and not by
the attorney’s staff.

d. Unaccompanied Attorncy’s Precleared Paralegal(s)* May Meet With Clicnt -
‘The inmate’s attorney’s precleared paralegal(s) may meet with the inmate without
the necessity of the inmate’s attorney being present. An investigator or
interpreter/translator may not meet alone with the inmate. These meetings miy be
contact or non-contact, at the discretion of the USMS/BOP/DF,

@ Simultaneous Multiple Legal Visitors - The inmate may have multiple legal
visitors provided that at least one of the multiple legal visitors consists of the
inmate’s attorncy or precleared paralegal. These meetings may be contact or non-
contact, at the discretion of the USMS/BOP/DF. :

f. Legally Privileged Telephone Calls - The following rules refer to all legally
privileged telephone calls or communications: ‘

i, Inmate’s Attomey’s Precleared Staff May Participate in Inmate Telephone
Calls - The inmate's attomey’s precleared staff are permitted to .
communicate directly with the inmate by telephone, provided that the
inmate’s attorney is physically present and participating in the legal call as
| .

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Inmate's Initiation of Legally Privileged Telephone Calls - Inmate-initiated
telephone communications with his attorney or precleared staff are to be
placed by a USMS/BOP/DF staff member and the telephone handed over

 

?“Precleared” when used with regard to an attorney's staff, or “precleared staff member,”
refers to a co-counsel, paralegal, or an investigator who is actively assisting the inmate's attomey
with the inmate’s post-sentencing proceedings, who has submitted to a background check by the
FBI and CES/NSD, who has successfully been cleared by the FBI and CES/NSD, and who has
received a copy of the inmate’s SAM and has agreed ~ as evidenced by his/her signature — to
adhere to the SAM restrictions and requirements. As used in this document, “staff member” also
refers to more than one staff member, and the provisions of this document shall be fully
applicable to each such staff member in his/her individual capacity. ‘A “paralegal” will also be
governed by any additional DF rules and regulations concerning paralegals.

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SPECIAL ADMINISTRATIVE MEASURES (SAM) Page 7
Pursuant to 28 C.P.R. § 501.2 -
Inmate - Harold Nicholson
to the inmate only after the USMS/BOP/DF staff member confirms that .
the person on the other end of the line is the inmate’s attorney. This
privilege is contingent upon the following additional restrictions:

-(1) The inmate's attomey will not allow any non-precileared person to
. communicate with the inmate, or to take part in and/or listen to or
overhear any communications with the inmate.

(2) The inmate's attomey must instruct his/her staff that:

r€) The inmate’s attorney and precleared staff are the only
persons allowed to engage in communications with the
inmate.

(b) The attorney's staff (including the attorney) are not to patch
through, forward, transmit, or send the inmate’s
communications to third parties,

 

 

(3) ~~ No telephone call/cammunication, or portion thereof, excepts —
specifically authorized by this document:

(a) _Is to be overheard by a third party.

(b) Will be patched through, or in any manner forwarded or
transmitted to a third party.

 

(c) Shall be divulged in any manner to a third party, except as
otherwise provided in Section 2(c) above.

- >For purposes of the SAM, “third party” does not include officials of the .
USMS/BOP/DF, FBI, CIA, DOJ, or other duly authorized federal authorities when acting in
connection with their official duties. This section does not allow monitoring of attomey/client
privileged communications. .

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- SPECIAL ADMINISTRATIVE MEASURES (SAM) Page 8
Pursuant to 28 CER. § 501.2
Inmate - Harold Nicholson

(d)_ Shall be in any manner recorded or preserved.’ The
inmate’s attorney may make written notes of attomey/client .
privileged communications. .

(4) ‘IFUSMS/BOP/DF, FBI, CIA, or CES/NSD determines that the
. inmate has used or is using the Opportunity to make a legal call to
speak with another inmate or for any other non-legal reason that
would circumvent the intent of the SAM, the inmate's ability to
contact his attorney by telephone may be suspended or eliminsted.

g. Documents Provided by Attorney to Inmate - During a visit, the inmate’s
attorney may provide the inmate with, or review with the inmate, documents
related to his post-sentencing proceedings and/or material prepared by the
inmate’s attomey related to such proceedings, so long as any of the foregoing
documents are translated, if translation is necessary, by a precleared translator.
Any documents not related to the inmate’s post-sentencing proceedings must be
sent to the inmate via general correspondence and will be subject to the mail
provisions of subparagraphs 2(h) and 3(g). Documents previously reviewed and
cleared for receipt by the inmate, and already in the inmate's possession at the
outset of the visit, may be discussed or reviewed by the inmate and the inmat2’s_ -
attomey during the visit. : . ,

 

 

 

i. None of the materials provided may include inflammatory materials,
mo ‘materials relating to the dissemination of classified information, or
i materials that may be used to pass messages from inmate to inmate, unless
such materials have been precleared by the CES/NSD and the FBL

 

 

 

 

 

 

 

 

ii, The CES/NSD may authorize additional documents to be presented to the
inmate. If any document not listed or described above needs to be
. fransmitted to the inmate, consent for the transmission of the document
can be obtained from the CES/NSD without the need to formally seek
approval for an amendment to the SAM..."

 

“Except by USMS/BOP/DF, FBI, CIA, DOJ or other duly authorized federal authorities.
This section does not allow monitoring of attomey/client privileged communications.

 

 
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SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.2

Inmate - Harold Nicholson

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h, _ Legal Mail - The inmate’s attomey may not send, communicate, distribute, or

divulge the inmate’s mail, or any portion of its contents (legal or otherwise), to
third parties, except as otherwise provided in Section 2(c).

i. In signing the SAM acknowledgment document, the inmate’s attorney and
precleared staff will acknowledge the restriction that only inmate case-

related documents will be presented to the inmate, and that neither the
attomey nor his staff will forward third-party mail to or from the inmate.

3. i e’s Non-] tacts:
a Non-legal Telephone Contacts -

i, The inmate is limited to non-legal telephone calls with his immediate
family members.6 However, Nicholson's son, Nathaniel Nicholson, will
not be permitted to have telephone calls with the inmate.

ii. ‘The quantity and duration of the inmate’s non-legal telephone calls with

.his immediate family members (except Nathaniel Nicholson) shall be set
by the USMS/BOP/DF, with a minimum of one call per month.

b. Rules for Telephone Calls - For all non-legally privileged telephone calls or
communications, no telephone call/communication, or portion thereof:

i, Is to be overheard by a third party.”

 

* Legal mail is defined as properly marked correspondence (tnarked “Legal Mail”)
addressed to or from the inmate’s attorney. : All other mail, including that otherwise defined by
the USMS/BOP/DF as Special Mail, shall be processed as “non-legal mail.” °

‘ The inmate’s “immediate family members” are defined as the inniate’s
(USMS/BOP/DF, FBI-verifiable) spouse, chi dren, parents, and siblings. Requests for additional
non-legal contacts may be submitted and will be considered on a case-by-case basis.

” For purposes of the SAM, “third party” does not include officials of the
USMS/BOP/DF, FBI, CIA, DOJ, or other duly authorized federal authorities when monitoring in
connection with their official duties.

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Pursuant to 28 C.F.R. § 501.2

SPECIAL ADMINISTRATIVE MEASURES (SAM) Page 10
Inmate - Harold Nicholson )

if. Is to be patched through, or in any manner forwarded or transmitted, to a
third party. .

iii. Shali be divulged in any manner to a third party.
iv. Shall be in any manner recorded or preserved.®

All telephone calls shall be in English unless a fluent FBI, CIA, or -
USMS/BOP/DF approved interpreter is available to contemporaneously monitor

the telephone call. Arranging for an interpreter may require at least fourteen days’
advance notice.

C. Telephone SAM Restriction Notifications - For all non-legal telephone calls to
the inmate’s immediate family member(s) (except Nathaniel Nicholson):

i. The USMS/BOP/DF shail inform the inmate of the telephone SAM
restrictions prior to each telephone call. .

ii, The USMS/BOP/DF shall verbally inform the inmate’s immediate farnily
member(s) (except Nathaniel Nicholson) on the opposite end of the
inmate’s telephone communication of the SAM restrictions,
USMS/BOP/DF is only required to notify the inmate’s communiication

recipient in English.
iii. | The USMS/BOP/DF shall document each such telephone notification.

d. Family Call Monitoring - All calls with the inmate's immediate family
member(s) (except Nathaniel Nicholson) shall be:

i. Contemporaneously monitored by the FBI and/or the CIA.

ii. Contemporaneously recorded (as directed by the FBI and/or the CIA) ina
manner that allows such telephone calls to be analyzed for indications the

call is being used to pass messages soliciting or en: ing the disclosure
of classified information, or to otherwise attempt to circumvent the S.AM.

 

* Except by USMS/BOP/DF, FBI, CIA, DOJ, or other duly authorized federal authorities.
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SPECIAL ADMINISTRATIVE MEASURES (SAM) . Page 11
Pursuant to 28 C.F.R. § 501.2

Inmate - Harold Nicholson

 

iii. A copy of each inmate/immediate family member telephone call recording

. shall be provided by USMS/BOP/DF ona single, individual cassette tape
. OF compact disk (per call) for forwarding to the FBI and/or the CIA. These
recordings-shall be forwarded on a call-by-call basis as scon as practicable.

e, Improper Communications - If telephone call monitoring or analysis reveals that

any call or portion of a call involving the inmate contains any indication of a
discussion of illegal activity, the soliciting of or encouraging of the disclosure of
classified information, or actual or attempted circumvention of the SAM, the
‘inmate shall not be permitted any further calls to his immediate family members
for a period of time to be determined by USMS/BOP/DF. If contemporaneous
monitoring reveals such inappropriate activity, the telephone call may be

- immediately terminated. .

f. Non-legal Visits -

i, Limited Visitors - The inmate shail be permitted to visit only with his _
immediate family members. However, the inmate will not be permitted to
Visit with his son, Nathaniel Nicholson. The visitor’s identity and faraily
memiber relationship to the inmate will be confirmed by the
USMS/BOP/DF and FBI and/or CIA in advance,

ii, English Requirement - All communications during non-legal inmate:
visits will be in English unless 2 fluent FBI, CIA, or USMS/BOP/DE
approved interpreter is readily available to contemporaneously monitor the
communication/visit.. ; °

’ iti, ——-Visit Criteria - All non-legal visits shall be:

(1) | Contemporancously monitored by USMS/BOP/DF and/or FBI
and/or CIA, in a manner that allows such visits to be analyzed for
indications the visit is being used to pass messages soliciting or
encouraging the disclosure of classified information, or to

_ otherwise attempt to circumvent the SAM.

(2) Penmitted only with a minimum of 14 calendar days’ advance

written notice to the USMS/BOP/DF facility where the inmat: is
housed.

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SPECIAL ADMINISTRATIVE MEASURES (SAM) . Page 12
Pursuant to 28 C.F.R. § 501.2 ,
Inmate - Harold Nicholson

(3) Without any physical contact. Al! such meetings shall be non-
contact to protect against harm to visitors or staff.

_ 4 Limited to one adult visitor at a time. However, FBl-verified
grandchildren and step-grandchildren of the inmate may visit with
4 pre-approved adult visitor.

B Non-legal Mail - Non-legal mail is any mail not clearly and properly addressed
to/from the inmate's attorney and marked “Legal Mail” (incoming or outgoing),
Non-legal mail is limited to only the inmate’s immediate family members (except

‘Nathaniel Nicholson), U.S. courts, federal judges, U.S. Attorney’s Offices,
members of U.S. Congress, BOP, or other federal law enforcement entities.

i. General correspondence with limitations: Correspondence is restricted -
to immediate family members (except Nathaniel Nicholson). Volume and
frequency of outgoing general correspondence with immediate family
members (except Nathaniel Nicholson) may be limited to three pieces. of
paper {not larger than 84” x 11”), double-sided, once per calendar week to
a single recipient, at the discretion of the USMS/BOP/DF. The identity
and family member relationship to the inmate will be confirmed by
USMS/BOP/DF and FBI. .

ii. General correspondence without limitations: There is no volume or
frequency limitation on correspondence to/from U.S. courts, federal
judges, U.S. Attorney’s Offices, members of U.S. Congress, BOP, and
other federal law enforcement entities, unless there is evidence of abuse of
these privileges, threatening correspondence is detected, circumvention of
the SAM is detected, or the quantity to be processed becomes
unreasonable to the extent that efficient processing to protect the security,
good order or discipline of the institution, the public, or national security
may be jeopardized.

 

iii, All non-legal ‘mail will be:

(1) Copied - Shall be copied (including the surface of the envelope) by
the warden, or his/her designee, of the facility in which the inmate
is housed. ;

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SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.2 uo
Inmate - Harold Nicholson’ -

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(2) + Forwarded - Shall be forwarded, in copy form, to the location
designated by the FBI and/or the CIA.

(3) ~— Analyzed - After government analysis and approval, if appropriate,
.the inmate's incoming/outgoing non-legal mail will be forwirded
to the USMS/BOP/DF for delivery to the inmate (incoming); or
directly to the addressee (outgoing).

The federal government will forward the inmate’s non-legal mail to the
-USMS/BOP/DF for delivery to the inmate or directly to the addressve after
a review and analysis period of:

(a) Areasonable time not to exceed fourteen (14) business
days for mail that is written entirely in the English
language. ,

(b)  Areasonable time not to exceed sixty (60) business days
for any mail that includes writing in any language other
than English, to allow for translation. _

(c) Areasonable time not to exceed sixty (60) business days
for any mail where the federal government has reasonable
suspicion to believe that a code was used, to allow for
decoding. :

iv. Mail Seizure - If outgoing/incoming mail is determined by
USMS/BOP/DF or FBI and/or the CIA to contain overt or covert
discussions of or requests for illegal activities, the soliciting or -
encouraging the dissemination of classified information, or actual or
attempted circumvention of the SAM, the mail shall not be
delivered/forwarded to the intended recipient, but referred to the FEI
and/or the CIA for appropriate action. Notification to the inmate of such
seizures will comply with BOP regulations conceming such notificition,

4. .Communication With News Media:

a. The inmate will not be permitted to talk with, meet with, correspond with, or
otherwise communicate with any member, or representative, of the news media, in

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SPECIAL ADMINISTRATIVE MEASURES (5 ;
Pursuant to 28 C.F.R. § 501.2 (SAM) Page 14

Inmate - Harold Nicholson

. person, by telephone, by fumishing a recorded message, through the mail, through
his attorney, through a third party, or otherwise. .

5. Religious Visitation: ,
a, The inmate shall not be allowed to engage in group prayer with other inmates.

b. If an FBI and/or USMS/BOP/DF approved religious representative is to be present
for prayer with the inmate, the prayer shall be conducted as part of a contact cr
non-contact visit, at the discretion of the USMS/BOP/DF.

6. No Communal Cells and No Communication Between Cells:

a. The inmate shal! not be allowed to share a cell with another inmate.

b. The inmate shall be limited within the USMS/BOP/DF’s reasonable efforts and
existing confinement conditions, from communicating with any other inmate by
making statements audible to other inmates or by sending notes to other inmetes, .
except as permitted in Section 1(c), above. .

7. Cellblock Procedures: —

a The inmate shall be kept separated from other inmates as much as possible while
’ in the cellblock area.

b. The inmate shall be limited, within USMS/BOP/DF’s reasonable efforts and
existing confinement conditions, from communicating with any other inmate
while in the cellblock area.

8. Commi 3
a ‘The USMS/BOP/DF shall restrict access to commissary items or any other objects
. determined by USMS/BOP/DF to be capable of being converted into dangerous
instruments. _ : .

 

 
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SPECIAL ADMINISTRATIVE MEASURES (S oo, 1
Pursuant to 28 C.P.R. § 501.2 am) Paue 15

Inmate - Harold Nicholson

9. Access to Mass Communicatiqns:

To prevent the inmate from receiving and acting upon critically-timed information or
information coded in a potentially undetectable manner, the inmate's access to materials
of mass communication is restricted as follows:

a Publications/Newspapers -

i. The inmate may have access to publications determined not to facilitae
criminal activity or be detrimental to: national security; the security, good
order or discipline of the institution; or the protection of the public. This
determination is to be made by the BOP, in consultation with the
CES/NSD,

ii. - Sections of the publication/newspaper that offer a forum for information to
be passed by unknown and/or unverified individuals, including but not
limited to classified advertisements and letters to the editor, should be

removed from the publications/newspapers prior to distribution to the

iii. If restricted by BOP rules, access to a publication will be denied. If
acceptable, upon delivery, the BOP will review the publication and make
the initial determination. If the FBI’s and/or the CIA's expertise on
national security or intelligence matters is required, the publication will be
forwarded to the FBI and/or the CIA for review. The BOP will also
forward the publication to the FBI and/or the CIA if translations are
needed to make that determination. (in these cases, the FBI and/or the

‘ -CIA shall respond to the BOP. within fourteen (14) business days.) The
inmate shall then have access to the remaining portions of the
publications/newspapers deemed acceptable, in accordance with
USMS/BOP/PF policy.

 

iv. _In order té avoid passing messages/information from inmate to inmate, the
inmate shalt be allowed to share institutionally-purchased
publications/newspapers with other SAM inmates only after each
publication/newspaper is physically screened by staff to ensure that
messages cannot be passed between the SAM inmates. :
Publications/newspapers individually purchased by the inmate may not be
shared with any other inmate.

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Approved for Release 8/11/2015)

SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.2
Inmate - Harold Nicholson

Paze 16

b. Television and Radio - The inmate is authorized to have television and radio
viewing and listening privileges, in accordance with standard and applicable
USMS/BOP/DF policies and procedures.

c. Termination or Limitation - If the USMS/BOP/DF determines that the mass
communications are being used as a vehicle to send messages to the inmate in
violation of the SAM, the inmate’s access may be limited or terminated for a
period of time to be determined by the USMS/BOP/DF.

10. ccess to Boo

The inmate may have access to all books that do not facilitate criminal activity or present
a substantial threat to national security or the security, discipline, or good order of the
institution, This initial determination is to be made by the BOP and, if the BOP
determines that the FBI’s and/or the CIA’s expertise on national security or intelligence
matters is required, the book(s) will be forwarded to the FBI and/or the CIA for review.
In conducting its analysis, the FBI and/or the CIA will determine whether access to the
book by this particular inmate would pose a substantial threat to national security.

In order to avoid passing messages/information from inmate to inmate, the inmate shall
be allowed to share institutionally-purchased books with other SAM inmates only after
each book is physically screened by staff to ensure that messages cannot be passed
between the SAM inmates. Books individually purchased by the inmate may not be
shared with any other inmate.

11. Transfer of $
In the event that the inmate is transferred to or from the custody of the USMS, BOP or
any other DF, the SAM provisions authorized for this inmate will continue in effect,
without need for any additional DOJ authorization.
CONCLUSION _
The SAM set forth herein, especially as they relate to attorney/client-privileged
communications and non-legal contact, are reasonably necessary to prevent the inmate from:

revealing classified information. Moreover, these measures are the least restrictive that can be
tolerated in light of the ability of this inmate to divulged such classified information.

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Approved for Release 8/11 /20151

Pursuant to 28 C.F.R. § 501.2

SPECIAL ADMINISTRATIVE MEASURES (SAM) Payre 17
Inmate - Harold Nicholson , |

. The SAM, with respect to mail privileges, are reasonably necessary to prevent the inraate
from transmitting classified information. Although I recognize that eliminating the inmate’s mail
privileges entirely may be an excessive measure except in the most egregious of circumstances, I
believe that delaying mail delivery and allowing authorized personnel to examine a copy of the

‘ mail, is sufficient at this time to interrupt any communication of classified information. Under
this procedure, the inmate can relate personal news to family members, even if delayed, but he
may find it difficult or unwise to pass along restricted information in light of these procedures.

The SAM's prohibition of contact with the media is reasonably necessary.
Communication with the media could pose a substantial risk of disclosure of classified
information. Based upon the inmate’s past behavior, I believe that it would be unwise to wait
until after the inmate attempts to disclose classified information to impose such media
restrictions. .

The SAM’s limitations on access to newspapers, publications, television and radio are
reasonably necessary to prevent the inmate from receiving and transmitting classified
information or information coded in a potentially undetectable manner. Such messages may be
placed in advertisements or communicated through other means, such as the television and/or
radio, Although I recognize that eliminating the inmate’s access to such media may be an oe
excessive measure except in the most egregious of circumstances, I believe that limiting and/or
delaying such access may interrupt communication patterns the inmate may develop with the
outside world, and ensure that the media is not used to communicate information which threatens
the national security.

SAM CONTACT INFORMATION
Any questions that you or your staff may have about this memorandum or the SAM
directed herein should be directed to the Office of Enforcement Operations, Criminal Division,

U.S. Department of Justice, 1301 New York Avenue, N.W., JCK Building, Room 1200,
Washington, DC, 20530-0001; telephone (202) 514-6809; and facsimile (202) 616-8256.

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U.S. Department of Instice.
. Federal Bureau of Prisons
‘3
United States Penitentiary ~
Administrative Maximum

 

Florence, Colorado 81226

 

April 6, 2045
: NOTICE TO HAROLD NICHOLSON, REG. NO. 49635-083
FROM: 3 Comnpiex Warden
SUBJECT: ‘Notification of Modification of Spectal Administrative

Nieasures (SAM)

Pursuant to the authority of the Attorney-General, as set forth in Provision 1 (b) of the -
original SAM, a modification of your SAM has been made. According to the Central ~

. Intelligence Agency (CIA) and the Federal Bureau of Investigation (FBI), you have been
violating the SAM restrictions by asking your parents to pass third party messages. The
Counterespionage Section, National Security Division (CES/NSD), in conjunction with
the CIA and FBI, is therefore asking that your SAM be modified to restrict your nonlegal
telephone and visitation contact with your parents, Marvin and Betty Nicholson. (You
are already prohibited from having any contact with your son, Nathaniel Nicholson, who
conspired with you to provide information to the Russian Federation in return for
money): Correspondence between you and your parents is not affected by this
modification and will continue to be permitted. Accordingly, this notice modifies
portions of Section 3 of your SAM, as follows:

3. Inmate's Nonleaal Gontaets: |
a. Nonlegally Privileged Telephone Contacts -

i. You are limited to nonlegally privileged telephone calls with: your
immediate family members. However, you shall not be permitted to
have telephone contact with your son, Nathaniel Nicholson; your father,
Marvin Nicholson; and your mother, Betty Nicholson.‘

 

 

1 The inmate’s “immediate family members" are defined as the inmate's. (USMS/BOP/
DF/ATF verifiable) spouse, children, parents, and siblings. Requests for additional

“Sensitive But Unclassified”

 

 

 
 

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Notification of Modification of Special Administrative Measures ©: ne > SAS
Michael McEihiney, Reg. No. 04198-007 eo Mores PF Mame. No.
January 26, 2015 .

Page 2

il. The quantity and duration of your nonlegally privileged telephone calls
with your immediate family members, except Nathaniel Nichoiscn,
Marvin Nicholson, and Betty Nicholson, with whom you are not allowed
to have telephone contact, shall be set by the USMS/BOP/DF, with a
minimum of one call per month.

b. No change required

c. Telephone SAM Restriction Notifications — For ail noniega! telephone calls
to your immediate family member(s), except Nathaniel Nicholson, Marvin
Nicholson, and Betty Nicholson, with whom you are not allowed to heve
telephone contact: .

i. The USMS/BOPIDF shall inform you of the telephone SAM restrictions
prior to each telephone call. —_.

ii. The USMS/BOP/DF shall verbally inform your immediate family
member(s), except Nathaniel Nicholson, Marvin Nicholson, and Betty
Nicholson, with whom you are not allowed to have telephone contact, on
the opposite end of your telephone communication of the SAM
restrictions. The USMS/BOP/DF is only required to notify your
communication recipient in English.

iti. The USMS/BOPIDF shall document each such telephone notification.

d. Family Call Monitoring — All cails with your immediate family member(s),
except Nathaniel Nicholson, Marvin Nicholson, and Betty Nicholson, with
whom you are not allowed to have telephone contact, shall be: -

i. Contemporaneously monitored by the ATF.

ii, Contemporaneousty recorded (as directed by the ATF) in a mariner that
allows such telephone calls to be analyzed for indications the call is
being used to pass messages soliciting or encouraging acts of violence
or other crimes, or to otherwise attempt fo circumvent the SAM.

 

nonlegal contacts may be submitted and will be considered on a case-by-case basis.

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Notification of Modification of Special Administrative Measures cove} Warrel

Michael McElhiney, Reg. No. 04198-0907 . <<
January 26, 2015

Page 3

iil.

A copy of each inmate/immediate family member telephone call
recording shall be provided to the FBI by the USMS/BOP/DF. These
recordings shall be forwarded on a call-by-call basis as scon as
practicable.

-. @, .... improper Communication — ff telephone call monitoring or analysis reveals

that any call or portion of a call involving you contains any indication of a
discussion of illegal activity, the soliciting of or encouraging of acts of
violence, or actual or attempted circumvention of the SAM, you shall not be
permitted any further calls to your immediate family members for a period of
time to be determinéd by the USMS/BOP/DF. If contemporaneous monitoring
reveals such inappropriate activity, the telephone call may be immediately
terminated.

Nonlegal Visits —

Limited Visitors — You shall be permitted to visit only with your
Immediate family members. However, you shall not be permitted to visit
with Nathaniel Nicholson, Marvin Nicholson, and Betty Nicholson. . The
visitor's identity and family member relationship to you will be confirmed
by the USMS/BOP/DF and FBI in advance. ,

All other SAM provisions will continue in full force and effect for the remainder cf the
current authorization periods, subject to further discretion. :

Received: April. _—, 2015

 

(3 pages) Harold Nicholson
. Reg. No. 49535-083.

“Sensitive But Unclassified”

 

 
 

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U.S. Department of Justice _
Federal Bureau of Prisoris

United States Penitentiary —
Administrative Maximum

 

Florence, Colorado 81226

‘June 26, 2015

NOTICE TO: HAROLD NICHOLSON, REG. NO. 49535-083
FROM: C120 Lo Warden
SUBJECT: Notification of Extension Special Administrative Measures

You pled guilty in 1997 to conspiracy to commit espionage between 1994 and 1996.. In
2010, you pled guilty to conspiracy to act as an agent of a foreign government without
prior notification to the Attorney General, and conspiracy to commit money laundering,
which you committed while incarcerated by the Federal Bureau of Prisons (BOP). In
June 2011, the Attorney General authorized the imposition of Special Administrative
Measures (SAM). :

As detailed in the request from the Chief of the Counterintefligence and Export Control
Section, National Security Division (CES/NSD) of the Department of Justice, which is
supported by the Central Intelligence Agency (CIA) and the Federal Bureau of
Investigation (FBI), between June 1994 and November 16, 1996, you provided the
Russian Federation with documents and other information relating to the national
defense of the United States, with the intent’‘and reason to believe that the documents
and information would be used to the irijury of the United. States and to the advantage of
the Russian Federation. This unauthorized disclosure of classified information resulted
in damage to national security operations. You were sentenced to 23 years and 7
months in prison.

As part of your plea agreement in 1997, you acknowledged your continuing obligations
with respect to secrecy associated with your employment with the Central Intelligence
Agency (CIA). You also agreed to have “no contact with any foreign government or
agents thereof, and ... not see or accept, personafly or through another person or entity,
any benefit from such government,” including through any member of your family, which
agreement you repeatedly violated.

The FBI investigation subsequently revealed ttiat while incarcerated at FCI Sheridan,
you used your youngest son, Nathaniel Nicholson (Nathaniel), to provide information ta
the Russian government in exchange for cash payments. Nathaniel visited you
regularly, and you also communicated through telephone and written correspondence.
At your direction, Nathaniel met with Russian government representatives outside the

 

 
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Notification of Extension of Special Administrative Measures
Harold Nicholson, Reg. No. 49535-083
June 26, 2015

Page 2

United States and gave them information provided by you. These communications
between you and the Russian government, with Nathaniel acting as an intermediary,
took place even as your outgoing prison calls were being recorded for CIA review, your
outgoing mail was being sent to the CIA for classification review, and the CIA was
approving your visitors, all part of communication security restrictions that were put in
place as part of your 1997 plea agreement.

_ Federal Bureau of Investigation investigation further disclosed that between December
2006 and December 2008, Nathaniel traveled overseas to meet with Russian Officials
and returned from those meetings with cash the Russians had given him in amounts
under $10,000, to avoid currency reporting requirements. You were aware of these
trips before they occurred and provided direction to Nathaniel with respect to
Nathaniel's interactions with Russian officials, as well as methods to avoid detection by
U.S. law enforcement. You used Nathaniel to smuggle notes out of the prison to be
provided to the Russian officials, along with instructions as to how to handle the case
Nathaniel received from the Russians. CIA review of monitored communications
between you and your son revealed numerous coded conversations relating to
Nathaniel's travels in connections with this scheme.

 

On December 15, 2008, following his return to Oregon from a trip to Cyprus, the FBI-
interviewed Nathaniel about his overseas travel. At that time, Nathaniel admitted to
meeting with Russian officials and to receiving cash from them, and stated that he had
given the Russians notes from you. that he had smuggled out of the prison. You refused .
to cooperate when confronted with evidence of your son’s illicit activities on your behaif.

. Both you and Nathaniel Nicholson were indicted in January 2009 on conspiracy and
money laundering charges relating to their unreported and illegal agency for the
Russian Federation.'

Your behavior suggests that there has been no change in your proclivities or
sympathies. Despite your two guilty pleas, at your sentencing in January 2011, you
apologized to the Russian Federation for any embarrassment your conviction caused
that govemment. in April 2003, BOP forwarded to the CIA an analysis of a letter from

 

* On August 29, 2009, Nathaniel Nicholson entered a plea of guilty to two counts of the
indictment: conspiracy to act as.an agent of a foreign government without prior
notification to the Attorney General, and conspiracy to commit money laundering. He
received a sentence of five years’ probation as a result of mitigating circumstances
(including his father’s manipulation of him) and his cooperation against his father.

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_ Specifically, based on CIA analysis of your mail and telephone conversations, the BOP

‘py whem
and hoo

- party overseas.

‘a November 11, 2014, letter, you instructed your mother in a cryptic manner to send a

‘thereafter, you reiterated your instructions to your mother regarding sending the scarf in

‘information would posé a threat to the national security.

Notification of Extension of Special Administrative Measures
Harold Nicholson, Reg. No. 49535-083

June 26, 2015

Page 3

yau to a family member in which youfappeareg}to attempt to circumvent the SAM by
encouraging the family member to relay a message tor you to an unauthorized third

The CIA reports that the BOP suspended your mail and telephone privileges for six
months between September 2013 and March 2014, for violating the terms of the SAM.

determined that on a few occasions between June and August 2013, you had
communicated cryptically with a family member about the same unauthorized third
party, and that family member would later correspond with and send packages to that -
same individual on your behalf, in violation of the SAM prohibition on passing messages
to third parties.

in March 2015, the CIA and FBI reported that you had been violating the SAM
restrictions by asking your parents to pass messages to an unauthorized third party. In

scarf to a foreign national with whom you are not authorized to have contact. Shortly

a November 14, 2014, telephone call. Based on the above information, on April 1,

2015, the SAM was modified to restrict your nonlegal telephone and visitation contact
with your parents. -

In his letter dated May 26, 2015, the Director of the CIA certified, pursuant to 28 C.F.R.

§ 501.2, that the continued implementation of the SAM is reasonably necessary to
prevent disclosure of classified information by you, and that the disclosure of such

“Sensitive But Unclassified”

Based upon information provided, including your service as a clandestine agent for the ‘
.Russian Federation and your illegal activities and communications while incarcerated, it ( 5s evel
was found there is a danger that you will disclose classified information, that the wan
Unauthorized disclosure of such information would pose a threat to the national security ee te
of the United States, and that SAM on you are reasonably necessary to prevent - a bc leosé Z

- disclosure of such information. - Pipssil i)

: - foc

Therefore, pursuant to 28 C.F.R. § 501.2, we will continue to implement the SAM to wh re ded
restrict your access to the mail, the media, the telephone, and visitors. This SAM will tes?
commence immediately upon expiration of the prior SAM authorization period and will; oinly )
be in effect for one year, subject to further direction. - in py ined

 

 
 

 

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Notification of Extension of Special Administrative Measures
Harold Nicholson, Reg. No. 49535-083
June 26, 2015

Page 4

1. General Provisions:

 

a. Adherence to Usual United States Marshals Service (USMS), BOP, and
Detention Facility (DF) Policy Requirements ~ In addition to the below
listed SAM, you must comply with all usual USMS, BOP, and non-BCP DF
policies regarding restrictions, activities, privileges, communications, etc. If
there is a conflict between the USMS/BOP/DF policies and the SAM, as set
forth herein, where the SAM is more restrictive than usual USMS/BOP/DF |
Policies, then the SAM shall control. If usual USMS/BOP/DF policies are
more restrictive than the SAM, then the USMS/BOP/DF policies shall control.

b. Interim SAM Modification Authority — During the term of this directive, the
Director, Office of Enforcement Operations (OEO), Criminal Division, may
modify your SAM as long as any SAM modification authorized by OEO:

i. ~ Does not create a more restrictive SAM:

fi. Is notin conflict with the request of the Section Chief,
‘Counterintelligence and Export Control, National Security Division
(CES/NSD), FBI, CIA, or USMS/BOP/ DF, or applicable regulatisns; and

ili. - Is not objected to by the CES/NSD, FBI, CIA, or USMS/BOP/DF.
c. Inmate Communications Prohibitions -

i. You are limited, within the USMS/BOP/DF's reasonable efforts and
existing confinement conditions, from having contact (including passing
or receiving any oral, written, or recorded communications) with any

_ other inmate, visitor, attorney, ar anyone else except as outlinec| and
allowed by this document that could reasonably foreseeably result in you
communicating information (sending or receiving) that could circumvent
the SAM’s intent of significantly limiting your ability to communicate.
(send or receive) classified information or other information with the
intent to harm others.

ii. . The USMS/BOP/DF may permit you to communicate with other SAM

inmates orally only during certain predesignated times, the place and
duration to be set by the USMS/BOP/DF. You shall not have any

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Notification of Extension of Special Administrative Measurés
Harold Nicholson, Reg. No. 49535-083

June 26, 2015 ‘

Page 5-

physical contact with other inmates during this predesignated time, and

all such predesignated sessions will be monitored and/or recorded.

Upon request of the FB! and/or the CIA, a copy of the recordings will be
provided by the USMS/BOP/DF to the FBI and/or the CIA to be analyzed —
for indications that you are attempting to pass classified information or
other information with the intent to harm others. 7

——— ™

2. Attorney/Client Provisions:

a. Attorney’ Affirmation of Receipt of the SAN Restrictions Document —
Your attorney (or counsel) — individually by each if more than one — niust sign
an affirmation acknowledging receipt of the SAM restrictions document. By
signing the affirmation, the attorney acknowledges his/her awareness: and
understanding of the SAM provisions and his/her agreement to abide by
these provisions, particularly those that relate to contact between you and
your attorney and the attorney's staff. The signing of the affirmation does nat
serve as an endorsement of the SAM or the conditions of confinement, and
does not serve to attest to any of the factors set forth in the conclusions

- supporting the SAM. However, in signing the affirmation, your attorney and
precleared staff* acknowledge the restriction that they will not forward third
party messages to or from you.

 

“Never an 1 Ssue

 

 

? The term “attorney” refers to the inmate's attorney of record, who has been verified
and documented by the CES/NSD, and who has received and acknowledged receipt of
the SAM restrictions document. As used in this document, “attorney” also refers to
more than one attorney where the inmate is represented by two or more attomeys, and
the provisions of this document shall be fully applicable to each such attomey in his/her
individual capacity.

3 “Precleared” when used with regard to an attorney's staff, or “precleared staff
member,” refers to a co-counsel, paralegal, or an investigator who is actively assisting
the inmate's attorney with the inmate's defense, who has submitted to a background
check by the FBI and CES/NSD, who has successfully been cleared by the FBI and .
CES/NSD, and who has received a copy of the inmate's SAM and has agreed--as___
evidenced by his/her signature — to adhere to the SAM restrictions and requireinents.
As used in this document, “staff member” also refers to more than one staff member,
and the provisions of this document shall be fully applicable to each such staff member
in his/her individual capacity. A “parategal’ will also be governed by any additional DF
rules and regulations concerning paralegals. .

“Sensitive But Unclassified” :

 

 
 

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Notification of Extension of Special Administrative Measures
Harold Nicholson, Reg. No. 49535-0883

June 26, 2015

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ak The CES/NSD shall present, or forward, the attomey affirmation of
receipt of the SAM restrictions document to your attorney.

ii. After initiation of the SAM and prior to your attomey being permitted to
have attorney/client privileged contact with you, your attorney shall
execute a document affirming receipt of the SAM restrictions document
and return the original te the CES/NSD. .

Hii. The CES/NSD shall maintain the original of the SAM acknowledgment
document and forward a copy of the signed document to OEO in
Washington, D.C. and the USMS/BOP/DF._

b. Attorney/Client Privileged Visits — Attorney/client privileged visits may be
contact or noncontact, at the discretion of the USMS/BOP/DF.

c. Attorney May Disseminate Inmate Conversations — Your attomey may
disseminate the contents of your communication to third parties for the sole
purpose of providing necessary legal services related to your post-sentencing
proceedings — and not for any other reason — on the understanding that any
such dissemination shall be made solely by your attorney, and not by the
attorney's staff.

d. Unaccompanied Attorney's Precleared Paralegal(s) May Meet with Client
— Your attorney's precleared paralegal(s) may meet with you without the need
for your attorney to be present. These meetings may be contact or
noncontact, at the discretion of the USMS/BOP/DF.

e. Simultaneous Muitiple Legal Visitors — You may have multiple legal visitors
provided that at feast one of the multiple legal visitors consists of your
attorney or precleared paralegal. These meetings may be contact or
noncontact, at the discretion of the USMS/BOP/DF. An investigator or
interpreter/translator may not meet alone with you.

f. Legally Privileged Telephone Calls — The following rules refer to all legally
privileged telephone calls or communications:

i. Inmate's Attorney's Precleared Staff May Participate in Inmate
Telephone Calls — Your attorney's precleared staff are permitted to

' *“Sensitive.But Unclassified”

 
 

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', Notification of Extension of Special Administrative Measures
Harold Nicholson, Reg. No. 49535-083
June 26, 2015

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communicate directly with you by telephone, provided that your attorney
is physically present and participating in the legal call as well.

ii. Inmate's Initiation of Legally Privileged Telephone Calls — Your initiated
telephone communications with your attorney or precleared staff are to
be placed by a USMS/BOP/DF staff member and the telephone handed
Over to you only after the USMS/BOP/DF staff member confirms that the
person on the other end of the line is your atforney. This privilege is
contingent upon the following additional restrictions:

1) Your attorney will not allow any non-precleared person to
communicate with you, or to take part in and/or listen to or overhear —
any communications with you.

2) Your attorney must instruct his/her staff that:

a) Your attorney and precleared staff are the only persons
allowed to engage in communications with you.

b) The attorney's staff (including the attorney) are not to patch
‘through, forward, transmit, or send your communications to
third parties. .

3) No telephone call/communication, or portion thereof, except as
_ Specifically authorized by this document:

a) Is to be overheard by a third party.*

b) Will be patched through, or in any manner forwarded or
* transmitted to a third party.

c) Shail be divulged in any manner to a third party, except as
otherwise provided in Section 2(c) above.

 

“ For purposes of the SAM, “third party” does not include officials. of the USMS/BOP/
DF, FBI, CIA, DOJ, or other duly authorized federal authorities when acting in
connection with their official duties. This section does not allow monitoring of

' attomey/client privileged communications. .

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d) Shall be in any manner recorded and preserved.® Your
attorney may make written notes of attorney client privileged
communications.

4) . Ifthe USMS/BOP/OF, FBI, or CES/NSD determines that you have
used or are using the opportunity to make a legal call to speak with
another inmate or for any other reason unrelated to your legal
proceedings that would circumvent the intent of the SAM, your
ability to contact your attorney by telephone may be suspended or
eliminated. .

‘g. Documents Provided by Attorney to inmate — During a visit, your
* attorney may provide you with or review with you, documents related to
"-your post-sentencing proceedings and/or material prepared by your -

attorney relating to such proceedings, so long as any of the foregoing
documents are translated, if translation is necessary, by a precleared
translator. Any documents not related to your post-sentencing
proceedings must be sent fo you via general correspondence and will be
subject to the mail review provisions of subparagraphs 2(h) and 3(g).
-Documents previously reviewed and cleared for receipt by you, and
already in your possession at the outset of the visit, may be discussed or
reviewed by you and your attorney during the visit.

i. None of the materials provided may include inflammatory materiats,
materials relating to the dissemination of classified information, or
materials that may be used to pass messages from inmate to
inmate, unless such materials have been precleared by the
CES/NSD and FBI.

ii. The CES/NSD may authorize additional documents to be presented

, to you. If any documents not listed or described above need to be
transmitted to you, consent for the transmission of the document
can be obtained from the CES/NSD without the need to formally
seek approval for an amendment to the SAM. .

 

* Except by the USMS/BOP/DF/FBUCIA/DOJ or other duly authorized federal
authorities. This section does not allow. monitoring of attorney/client privileged
communications.

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h. Legal Mail®— Your attorney may not send, communicate, distribute, or

divulge your mail, or any portion of its contents (legal or otherwise), to
third parties, except when disclosure of the contents is necessary for the
sole purpose of providing necessary legal services related to your post-
sentencing proceedings - and not for any other reason. In signing the
SAM acknowledgement document, your attorney and precleared staff
will acknowledge the restriction that only inmate case-related dacuments
will be presented to you, and that neither the attorney nor his/her staff
will forward third party mail to and from you.

3. Inmate’s Nonlegal Contacts: .
a. Nonlegally Privileged Telephone Contacts —

i. You are limited to nonlegally privileged telephone cails with your
- immediate family members’. However, your son, Nathaniel Nicholson,
and your parents, Marvin and Betty Nicholson, will not be permitted to
have telephone calis with you.

it, The quantity and duration of your nonlegal telephone calls with your
immediate family members (except Nathaniel Nicholson, Marvin
Nicholson, and Betty Nicholson) shall be set by the USMS/BOP/OF, with
a minimum of one call per month.

b. Rules for Telephone Calls — For all nonlegally privileged telephone calls or
communications, no telephone call/communication, or portion thereof:

i. Is to be overheard by a third party.

 

5 | egal mail is defined as properly marked correspondence (marked “Legal Mail”)
addressed to or from the inmate's attomey. All other mail, including that otherwise
defined by the USMS/BOP/DF as Special Mail, shall be processed as “nonlega! mail.”

‘7 The inmate's “immediate family members” are defined as the inmate’s (USMS/BOP/
DF/FBI verifiable) spouse, children, parents, and siblings. Requests for additional
nonlegal contacts (whether telephone, visits, or mail) may be submitted and will be
considered on a case-by-case basis. .

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ii. Is to be patched through, or in any manner forwarded or transmitted, to a
third party.
iii. Shall be divulged in any manner to a third party.
iv. Shall be in any manner recorded or preserved.

All telephone calls shall be in English unless a fluent FBI, CIA, or USMS/
BOP/DF approved interpreter/transiator is available to contemporaneously
monitor the telephone call: Arranging for an interpreter/transiator may require
at least 14 days’ advance notice.

c. Telephone SAN Restriction Notifications — For all nonlegally privileged
telephone calls to your immediate family member(s) (except Nathaniel
Nicholson, Marvin Nicholson, and Betty Nicholson): ,

i. | The USMS/BOP/DF shall inform you of the telephone SAM restrictions
prior to each telephone call. mo ,

- ji The USMS/BOP/DF shail verbally inform your immediate family
member(s) (except Nathaniel Nicholson, Marvin Nicholson, and Betty
Nicholson) on the opposite end of your telephone communication of the
SAM restrictions. The USMS/BOP/DF is only required to notify your
communication recipient in English. .

iii. The USMS/BOP/DF shall document each such telephone notification.
d. Family Call Monitoring — All calls with your immediate family member(s),
, except Nathaniel Nicholson, Marvin Nicholson, and Betty Nicholson, with
whom you are not allowed to have telephone contact, may be:
i. Contemporaneously monitored by the FBI and/or CIA.

ii. Contemporaneously recorded (as directed by the FBI and/or CIA) in a
manner that allows such telephone calls to be analyzed for indications

 

® Except for the USMS/BOP/DF/FBI/CIA/DOJ or other duly authorized federal
authorities.

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‘the call is being used to pass messages soliciting or encouraging the
disclosure of classified information, or to otherwise attempt to circumvent
the SAM.

iii. A copy ‘of each telephone call recording involving an inmate/immediate
. family member to the FBI and/or CIA by the USMS/BOP/DF. These
recordings shall be forwarded on a call-by-call basis as soon as
practicable.

e.. Improper Communication — If telephone cail monitoring or analysis reveals
that any call or portion of a call involving you contains any indication of a -
discussion of illegal activity, the Soliciting of or encouraging of the disclosure
of classified information, or actual or attempted circumvention of the SAM, .
you shall not be permitted any further calls to your immediate family members
for a period of time fo be determined by the USMS/BOP/DF. If
contemporaneous monitoring reveals such inappropriate activity, the
telephone call may be immediately terminated.

f. _Nonlegal Visits —

i. Limited Visitors ~ You shall be permitted to visit only with your
immediate family members. However, you will not be permitted to visit
with your son, Nathaniel Nicholson, or your parents, Marvin and Betty
Nicholson. The visitor's identity and family member relationship to you
will be confirmed by the USMS/BOP/DF and FBI and/or CIA in advance.

1) In addition, FBI Special Agent Dean Aker, Colorado Springs
Resident Agency, is authorized to meet with you on an ongoing
- basis, provided the FBI has coordinated the meetings with the
USMS/BOP/DF. .

ii. English Requirement. All communications during your nonlegal visits
willbe in English unless a fluent FBI, CIA, or USMS/BOP/DF approved
interpreter/transiator is readily available to contemporaneously monitor .
the communication/visit. Arranging for an interpreter may require at
least 14 days’ advance notice.

iii. Visit Criteria — All nonlegal visits shall be:

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1) Contemporaneously monitored by the USMS/BOP/DF and/or FBI
and/or CIA, in a manner that allows such visits to be analyzed for
indications the visit is being used to pass messages. soliciting or
encouraging the disclosure of classified information, or to otherwise
attempt to circumvent the SAM. ,

2) Permitted only with a minimum of 14 calendar days’ advance
written notice to the USMS/BOP/DF facility where you are housed.

3) Without any physical contact. All such meetings shall be
noncontact to protect against harm to visitors or staff.

4) Limited to one adult visitor at a time. However, your FBI verified
grandchildren and step-grandchildren may visit with a preapproved
adult visitor.

g. Nontegal Mail — Nonlega! mail is any mail not clearly and properly acidressed
to/from your attorney and marked “Legal Mail" (incoming and outgoing).
Nonlegal mail is only authorized with your immediate family members. (except
Nathaniel Nicholson), U.S. courts, federal judges, U.S. Attorney's Offices,
member of U.S. Congress, the BOP, and other federal law enforcement
entities.

i. General correspondence with limitations: Correspondence is
restricted to immediate family members (except Nathaniel Nichcison).
The volume and frequency of outgoing general correspondence with
immediate family members (except Nathaniel Nicholson) may be limited
to three pieces of paper (not larger than 8 % x 11), double-sided, once
per calendar week to a single recipient, at the discretion of the USMS/
BOP/DF. The identity and your family member relationship will be
confirmed by the USMS/BOP/DF and FBI.

ii. General correspondence without limitations: There is no volume or
frequency limitation on correspondence to/from U.S. courts, federal
judges, U.S. Attomey's Offices, members of U.S. Congress, the BOP,
and other federal law enforcement entities unless there is evidence of
abuse of these privileges, threatening correspondence is detected,
circumvention of the SAM is detected, or the quantity to be processed

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becomes unreasonable to the extent that efficient processing to protect
the security, good order or discipline of the institution, the public or
national security may be jeopardized. ~

iii, All nonlegal mail will be:

1) Copied — Shall be copied (including the surface of the envelope) by
the warden, or his/her designee, of the facility in which you are
housed. ,

2) Forwarded — Shall be forwarded, in copy form, fo the location
designated by the FB! and/or CIA. | so
3) Analyzed — After government analysis and approval, if appropriate,
your incoming/outgoing nonlegal mail will be forwarded to the
‘ USMS/BOP/DF for delivery to you (incoming); or directly to the
addressee (outgoing).

iv. The federal government will forward your nonlegal mail to the
' 1 USMS/BOP/DF for delivery to you or directly to the addressee after a
review and analysis period of:

1) A reasonable time not to exceed 14 business days for mail which is
written entirely in the English language.

2) Areasonable time not to exceed 60 business days for any mail —
which includes writing in any language other than English, to allo
for translation. ,

3) Areasonable time not to exceed 60 business days for any mail
. where the federal government has reasonable suspicion to believe
that a code was used, to allow for decoding.

"v. .- Mail Seizure — If outgoing/incoming mail is determined by the
USMS/BOP/DF, FBI, or CIA to contain overt or covert discussion of or
requests for illegal activities, the soliciting or encouraging the
dissemination of classified information, or actual or attempted

’ circumvention of the SAM, the mail shall not be delivered/forwarded to

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the intended recipient but referred to the FBI and/or CIA for appropriate
action. You shall be notified in writing of the seizure of any mail.

4. Communication with News Media: You shail not be permitted to talk with, meet
with, correspond with, or otherwise communicate with any member, or
representative, of the news media, in person, by telephone, by furnishing a

recorded message, through the mail, through your attorney, through a third party,
or otherwise.

5. Religious Visitation:
_ @ You shall not be allowed to engage in group prayer with other inmates.

b. If an FBI and/or USMS/BOP/DF approved religious representative is to be
present for prayer with you, the prayer shall be conducted as part of a
noncontact visit, at the discretion of the USMS/BOP/DF.

6. No Communal Cells and No Communication Between Cells:

a. . You shall not be allowed to share a cell with another inmate.

b. You shall be limited within the USMS/BOP/DF's reasonable efforts and
existing confinement conditions, from communicating with any other inmate
by making statements audible to other inmates or by sending notes to other
inmates, except as permitted in Section ic above.

7. Cellblock Procedures:

 

a. You shall be kept separated from other inmates as much as possible while in
the cellblock area.

b. You shall be limited, within the USMS/BOP/DF’s reasonable efforts and
existing confinement conditions, from communicating with any other inmate
while in the celiblack area. ;

8. Access to Mass Communications: To prevent you from receiving and acting

upon critically-timed information or information coded in a potentially undetectable
manner, your access to materials of mass communication is restricted as follows:

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a. Publications/Newspapers —

i. You may have access to publications determined not to facilitate criminal
activity or be detrimental to: national security; the security, good order or
discipline of the institution; or the protection of the public. This
determination is to be made by the USMS/BOP/DF, in consultation with
the CES/NSD. You may correspond with the publishing company
regarding technical aspects of the publication, i.e., availability of
particular volumes, billing questions, etc. The review of this
correspondence will be in accordance with section 8(a) (iii), below.

ii, Sections of the publication/newspaper which offer a forum for
. information to be passed by unknown and/or unverified individuals,
including but not limited to classified advertisements and letters to the
editor, should be removed from the publications/newspapers prior to
distribution to you. ,

iti. if restricted by the USMS/BOP/DF rules, access to a publication will be
denied. If acceptable, upon delivery, the USMS/BOP/DF will review the
publication and make the initial determination. If the FBI's and/or CIA's
expertise is required, the publication will be forwarded to the FBI and/or
CIA for review. The USMS/BOP/DF will also forward the publication to
the FBI and/or CIA if translations are needed to make that determination.
(In these cases, the FBI and/or CIA shall respond to the USMS/BOP/DF
within 14 business days.) You shall then have access to the remaining
portions of the publications/newspapers deemed acceptable, in
accordance with the USMS/BOP/DF policy.

iv. In order to avoid passing messages/information from inmate to inmate,
you shail be allowed to share institutionally purchased publications/
newspapers with other SAM inmates only after each publication/
newspaper is physically screened by staff to ensure that messages
cannot be passed between the SAM inmates. Publications/newspapers
individually purchased by you may not be shared with any other inmate.

b. Television and Radio — You are authorized to have television and radio

viewing and listening privileges, in accordance with standard’and applicable
USMS/BOP/DF policies and procedures.

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c. Termination or Limitation — If the USMS/BOP/DF determines that the mass
communications are being used as a vehicle to send messages to you in
violation of the SAM, your access may be limited or terminated for a period cf
time to be determined by the USMS/BOP/DF.

9. Access to Books:

 

a. You may have access to all books that do not facilitate criminal activity or
present a substantial threat to national security or the security, discipline, or
good order of the institution. This initial determination is to be made by the
USMS/BOP/DF and, if the USMS/BOP/DF determines that the FBI’s and/or
CIA's expertise is required, the book(s) will be forwarded to the FBI and/or
CIA for review. In conducting its analysis, the FBI and/or CIA will determine
whether access to the book by you would pose a substantial threat to national
security.

b. In order to avoid passing messages/information from inmate to inmate, you
shall be allowed to share institutionally purchased books with other SAM.
inmates only after each beok is physically screened by staff to ensure: that
messages cannot be passed between the SAM inmates. ‘Books individually
purchased by you may not be shared with any other inmate.

10. Transfer of Custody: In the event that you are transferred to or from the custody
of the USMS, BOP, or any other DF, the SAM provisions authorized for you will
continue in effect, without need for any additional DOJ authorization.

CONCLUSION
The SAM set forth herein, especially as they relate to attorney/client-privileged .
' communications and nonlegal contacts, are reasonably necessary to prevent you from
revealing classified information. Moreover, these measures are the least restrictive that
can be tolerated in light of the ability for you to divulge such classified information.

With respect to telephone privileges, the SAM are reasonably necessary because
of the high probability of calls to others in which classified information may be disclosed.

The SAM, with respect to mail privileges, is reasonably necessary to prevent you
from receiving or passing along critically times messages. Accordingly, your interest in

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the timely receipt and/or submission of mail, with the possible danger the contents of
the mail may post to others, was weighed. While it is recognized that eliminating your
mail privileges entirely may be an excessive measure except in the most egregious of
circumstances, it is believed that delaying mail delivery and allowing authorized
personnel to examine a copy of the mail, is sufficient at.this time to interrupt any —
communication of classified information. Under this Procedure, you can relate personal
news to family members, even if delayed, but you may find it difficult or unwise to pass
along restricted information.

The SAM's prohibition of contact with the media is reasonably necessary.
. Communication with the media could pose a substantial risk to disclosure of classified
information. Based upon your past behavior, it is believed that it would be unwise to
‘wait until after you attempt to disclose classified information to impose such media
restrictions.

The SAMs limitations on access to newspapers, publications, television, and radio
are reasonably necessary to prevent you from receiving and transmitting classified
information or information coded in a potentially undetectable manner. Such messages
may be placed in advertisements or communicated through other means, such as the
television and/or radio. While it is recognized that eliminating your access to such
media may be an excessive measure except in the most egregious of circumsteinces, it
is believed that limiting and/or delaying such access may interrupt communication
pattems you may develop with the outside world, and ensure that the media is not used
to communicate information which threatens the national security. :

These conditions are imposed by the USMS/BOP/DF at the request of the Attorney
General, through his designated agent, the Assistant Attorney General.

Received: June a5 _, 2015 _
(17 pages) . Harold Nicholson
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U.S. Department of Justice . |
Federal Bureau of Prisons |

 

Federal Correctional Complex
[%} Administrative Maximum Security Institution -
C1 High Security Institution

CD Medium Security institution
C) Minimum Security institution

 

 

Florence, CO 81226

. September 26, 2012,

MEMORANDUM FOR W. Heim, Supervisory Correctional Systems Specialist

FROM: 'D. J. Krist,

 

SUBJECT: inmate Mafi Rejection: NICHOLSON 49535-083

The attached correspondence is submitted for rejection due to the following reasons:

A | PUBLICATION/CORRESPONDENCE = WHICH CONTAINS
INFORMATION THAT MAY JEOPARDIZE THE SECURITY OF THE
- INSTITUTION AND THEREFORE POSES A THREAT :

2. _ INMATE'TO INMATE ‘CORRESPONDENCE WHICH IS NOT
APPROVED:,

3. INMATE TO INMATE VIA A THIRD PARTY: . i

4. CONTAINS POSSIBLE CODES AND THEREFORE A SECURITY
THREAT EXISTS:

5. CONTAINS MAPS: |

6. CONTAINS DRAWINGS OR PHOTOS OF CELLS, REC. YARDS,
PERIMETER FENCES, ETC. (SECURITY THREATS):

7. ‘ FOREIGN LANGUAGE THAT CAN NOT BE TRANSLATED:

- . Oo, |
8. OTHER/COMMENTS: Attempting to relay information to a i

third party. ;

 

 

 
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Case 1:15-cv-01999-KLM Document 1-1 Filed 09/11/15 USDC Colorado Page 46 of 65

 

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Case 1:15-cv-01999-KLM Document 1-1 Filed 09/11/15 USDC Colorado Page 47 of 65

 

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Case 1:15-cv-01999-KLM Document 1-1 Filed 09/11/15 USDC Colorado Page 48 of 65

 

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Case 1:15-cv-01999-KLM Document 1-1 Filed 09/11/15 USDC Colorado Page 49 of 65

 

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NICHOLSON, HAROLD J

 

 

 

 

 

 

 

 

 

PAGE 1/3
INMATE COPY
VISITING LIST FOR INMATE: NICHOLSON, HAROLD J
REGISTER NUMBER: 49535-083
UNIT: UNIT 4
ADAMSON, BRUCE Inmate Visitor COUSIN
. 1403 PARK AVE.NE . PHONE: APPROVED: 06-06-1999 08:29
SALEM , OREGON 97301
UNITED STATES OF AMERICA
ADAMSON, HAROLD Inmate Visitor UNCLE
$473 commercial st. SE #19 PHONE: APPROVED: 06-06-1599 08:29
SALEM , OREGON 97306
UNITED STATES OF AMERICA
ANDRE, BRETT Inmate Visitor COUSIN
38203 SE PORTER RD. PHONE; APPROVED: 06-06-1999 08-29
ESTRADA , OREGON 97023 .
UNITED STATES OF AMERICA
ANDRE, JANYCE Inmate Visitor COUSIN
38203 SE PORTER RD PHONE: APPROVED: 06-05-1999 08:29
ESTACADA , OREGON 97023
UNITED STATES OF AMERICA
ANDRE, LARRY Inmate Visitor FRIEND .
38203 SE PORTER RD, PHONE: APPROVED: 06-06-1959 08:29
ESTACADA , OREGON 97023
UNITED STATES OF AMERICA
BEYSTRUM, LEONARD Inmate Visitor FRIEND
11692 CAMEL CREEK RD. #106 PHONE: APPROVED: 06-06-1999 08:29
SAN DIEGO, CALIFORNIA 92130
UNITED STATES OF AMERICA
CODY, MARY JANE Inmate Visitor FRIEND
68914 E.TAWNEY LANE PHONE: 503-622-6064 APPROVED: 11-02-2001 11:51
WELCHES , OREGON 97023
UNITED STATES OF AMERICA
EICHNER, MARJORIE Inmate Visitor COUSIN .
38644 SE COUPLAND RD PHONE: APPROVED: 06-05-1599 08:29
ESTACADA , OREGON 97023 .
UNITED STATES OF AMERICA
FREDRICY, RICHARD ARTHUR Inmate Visitor FRIEND

 

20376 BALD MOUNTAIN COURT PHONE: 719-481-8880 APPROVED: 11-29-2005 19:17
MONUMENT , COLORADO 80132
UNITED STATES OF AMERICA

SHERIDAN FCE Page 1 of 3 05-17-2007 150)

 
Case 1:15-cv-01999-KLM Document 1-1 Filed 09/11/15 USDC Colorado Page 52 of 65

    

 

 

 

 

 

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PAGE 2/3!
HOGG, MAXINE Inmate Visitor AUNT !
2301 BARRINGTON ST PHONE: APPROVED: 07-15-1999 16:25 :
BAKERSFIELD , CALIFORNIA
UNITED STATES OF AMERICA
Qa
« LANGER, | LYNN Inmate Visitor FRIEND :
11692 CARMEL CR. RD. #106 _ PHONE: 858-947-5369 APPROVED: 05-15-2007 13:08
SAN DIEGO , CALIFORNIA 92130 :
’ UNITED STATES OF AMERICA
NS --LEHLIEM, KANOK WAN? inmate Visitor SIGNIFICANT OTHER |
214 MOO.1 Banmaisaithong Aranyaprathet PHONE: APPROVED: 09-14-2006 14:22 |
Sakaew
THAILAND
. : ° i
NIBLER, SANDRA EILEEN Inmate Visitor COUSIN
8610 PARKER ROAD PHONE; 503-838-4409 APPROVED: 05-15-2006 08:29
INDEPENDENCE , OREGON 97351 ,
UNITED STATES OF AMERICA
NICHOLSON, ASTRALENA Inmate Visitor ADULT DAUGHTER
2354 SW SCHMIDT #101 PHONE: APPROVED: 06-06-1999 08:29

BEAVERTON , OREGON 97006
UNITED STATES OF AMERICA

 

 

 

 

 

 

NICHOLSON, BEATRICE inmate Visitor MOTHER
1699 N TERRY SP 161 . PHONE: APPROVED: 06-06-1999 08:29
EUGENE, OREGON 97402
UNITED STATES OF.AMERICA -
NICHOLSON, JEREMIAH Inmate Visitor ADULT SON
16 B GARDENIA CIRCLE PHONE: APPROVED: 06-06-1999 08:29
SPRINGLAKE , NORTH CAROLINA 28390
UNITED STATES OF AMERICA ;
NICHOLSON, MARVIN Inmate Visitor FATHER ;
1699 N TERRY SP 161 PHONE: APPROVED: 06-06-1999 08:29
EUGENE, OREGON 97402
UNITED STATES OF AMERICA
NICHOLSON, NATHANIEL Inmite Visitor ADULT SON
223 CONESTA WAY PHONE: APPROVED: 06-06-1999 08:29
EUGENE , OREGON 97401
UNITED STATES OF AMERICA

" |
NICHOLSON, ROBERT Inmate Visitor BROTHER }
1699 N Terry St PHONE: APPROVED: 09-29-2006 10:06
Eugene ,OREGON 97402
UNITED STATES OF AMERICA |

 

 

SHERIDAN FCI Page 2 of 3 05-17-2007 15:00:
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NICHOLSON, HAROLD J

PAGE 3/3

 

 

 

 

 

 

 

UNITED STATES OF AMERICA

NORTON, KERRY Inmate Visitor FRIEND.
1033 CONCORD WAY PHONE: APPROVED: 06-06-1899 08:29
PROSSER , WASHINGTON 99350
UNITED STATES OF AMERICA
NORTON, VIRGINIA Inmate Visitor FRIEND
1033 CONCORD WAY PHONE: . APPROVED: 06-06-1999 08:29
PROSSER , WASHINGTON 99350 .
UNITED STATES OF AMERICA.
PIATT, MICHAEL HARTLEY Inmate Visitor FRIEND
38 NORTH WALES RD. PHONE: 413-245-3403 APPROVED: 10-19-2003 07:51
HOLLAND ; MASSACHUSETTS 01521 ,

- UNITED STATES OF AMERICA
ROGERS, DANIELLE Inmate Visitor NIECE
3831 dove lane PHONE: 541-359-8664 APPROVED: 02-26-2007 14:29
eugene , OREGON 97402: : . .
UNITED STATES OF AMERICA
ROGERS, DESTINY Inmate Visitor NIECE
90764 LINK RD PHONE: ’ APPROVED: 06-26-2000 16:27
EUGENE , OREGON
UNITED STATES OF AMERICA
ROGERS, DUSTIN ALBERT Inmate Visitor NEPHEW
1699 N TERRY PHONE: 541-607-1696 APPROVED: 10-19-2003 07:50
EUGENE , OREGON 97402
UNITED STATES OF AMERICA
ROGERS, TAMIE Inmate Visitor SISTER

' 1699 N TERRY ST PHONE: APPROVED: 06-06-1999 08:29
EUGENE, OREGON 97402 .
UNITED STATES OF AMERICA
STARR, MARIAH ELIZABET __ Inmate Visitor COUSIN
18370 SW BOONES FERRY ROAD PHONE: 503-484-5466" APPROVED: 07-04-2004 07:49
DURHAM , OREGON 97224 .

 

TOTAL VISITORS: 27

SHERIDAN FCI

Page 3 of 3

05-17-2007 15:00

 
Case 1:15-cv-01999-KLM Document 1-1 Filed 09/11/15 USDC Colorado Page 54 of 65

 

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U.S. Department of Justice
Federal Bureau of Prisoris

  

United States Penitentiary —
Administrative Maximum

 

Florence, Colorado 81226

March 24, 2015

MEMORANDUM FOR: NICHOLSON, HAROLD J
Reg. No. 49535-083 _

 

FROM: T. Gomez, Unit Manager
SUBJECT: Renewal of Special Administrative Measures

The Special Administrative Measures (SAM) implemented in your case, are set for
expiration/renewal on or about June 20, 2015. Please provide any comments and/or
recommendations concerning your SA's possible renewal. You are not limited to the section
provided. You may attach continuation Pages and documentation you want considered. Your
input will be reviewed and considered in determining whether your SAM should be renewed and/or

 

modified. Please provide your input‘on or before March 31, 2015. (Pace. f ofQ)
Inmate Statement_In_ Prevnus Yeaas Twe péraen THE  RFASS

 

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(Pace 2 OF Q|

 

 

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page A/ST
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were taken by the United States Government. It was my
children's home, my children's family car, my children's
possessions, and their personal savings accounts that were also
seized by the United States Government, in effort to punish me.

For -- at that time, on that day, my children were
told to pack one bag each. They were then taken to the
airport, with their pet cats, placed on an airplane, and flown
from their home in Virginia to Oregon; a place where they had
only visited their relatives.

My oldest son was forced to leave college and to get a
job, in effort to help support his younger brother and sister.

For over a decade, I sat, as if in amber, watching
from the federal prison, while my children struggled to make
ends meet. They did a heroic job.

After 9-11 and the terrorists attacked in 2001, both
of my boys entered the military on their own, but with my
blessing.

My daughter went on to get a college degree, and set
out to pursue a career on her own.

For the last 766 days, your Honor, I have been in
solitary confinement. I have been held in a stark cement cell
for 24 hours a day. I have been separated from my family.
Other than letters, I have had no contact with anyone but my
legal team and prison officials.

THE COURT REPORTER: I'm sorry?

 
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Page S/S

1 THE COURT: By his legal team.

2 THE DEFENDANT: During this time I have concluded that
3 my children never really needed the extent of help that I

4 thought they needed.

5 My children, each one of them, are wonderful, good

6 caring, smart, and capable people.

7 The truth is, your Honor, it was not just their need

8 for assistance that caused me to suggest the course of action

9 that I did. It was my pride. It was also the illusion that I
10 was somehow indispensable to my children's survival. -

11 Your Honor, in solitude, illusions dissolve. It was
12 in my solitude of solitary confinement that I realized that all
13 my children ever really needed from me was my love.

14 Your Honor, in regard to the acts that were committed,
15 I want to -- also like to add that I sought help for my

16 children only later, when they were undergoing difficult times.
17 Two of my children were facing student loan payments they

18 couldn't make. They had rents that they were struggling to

19 pay. And it was in desperation that, after all of my prison
20 savings had been expended, that they might be helped by only
21 one source, and the source I could think of at the time was the
22 Russian Federation.
23 Now I recognize that it was because of my previous
24 assistance to them that they were willing to help my children

25 in their time of need. However, I would also like to add that

 

 

 
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1 the Russians owed me nothing. And insofar as their efforts

2 were truly to help my children, I regret the embarrassment that

3 this has caused them as well.

4 I would like to say, further, that I -- well, I would

5 like to ask my children to forgive me.

6 When I was initially arrested, I could have never

7 imagined that I would fail them again. And I will endeavor not

8 to do so, once more.

9 I would like to say, your Honor, in regard to my young
10 son, that if he harbors any feeling of failure in this regard,
11 to let those feelings go. His efforts in all of this were
12 completely selfless. And they were designed only to help his
13 family in their time of need.

14 I love him dearly. I could not be more proud of him.
15 He has never let me down, and he has never failed his family.
16 Any failure has been mine alone.

i7 That's what I would like to say, your Honor. Thank

18 you.

19 (Conclusion of excerpt.)

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4 I certify, by signing below, that the foregoing is a correct

5 transcript of the oral proceedings had in the above-entitled

6 matter this 18th day of January, 2011. A transcript without an
7 original signature or conformed signature is not certified. I
8 further certify that the transcript fees and format comply with
9 those prescribed by the Court and the Judicial Conference of

10 the United States.

11

/S/ Amanda M. LeGore
12

 

13 AMANDA M. LeGORE, RDR, CRR, FCRR, CE
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( CLS SEE COMMU ATION PAGE. p) .

 
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PAGE Q oF 3

ConmUATION OF STATEMENT RE Sams iN RE HARELO J.
Nictetsor , 49 SBS -O83, 19 MAR Rol]:

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Continuation OF STATEMENT RE SAMS IN RE HAROLD J.
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BY THE CIA on 6 FEB Roly OU Or Hecia~
Explananon }

Tracking Number:

 

Inmate Name:_ HARoid »). NicHousowv
Inmate Register Number:_4973.35-O89

Contact’s Name:__ KANWeKWAN  LEHL/ENT)

Contact’s Address:__ a) 1Y Moa. l 5 BAVDAISAL THONG
ARAN YA PRATHET, SAKAEU RTIDO
THAILAND

 

Contact's Telephone Number: O11-66~37- 29g-a4 /
Relationship to Inmate: _F ,Awe ee
Contact’s Date of Birth: _al 3 Mov LIES
Contact’s Place of Birth: A RANYAPRATHET, THAILAND.
Contact’s Citizenship: “7 HA / |
if Contact fs a US Citizen, must provide Social Security Number:
NA

Additional information (i.e. Driver’s License Number or Passport Number, etc.)

Passeort #f U D840 6 ‘7

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Type of Contact: Non-legal mail es Telephone ig

 

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CO. FILE
